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                      IN THE DISTRICT COURT OF THE UNITED STATES
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  ANDERSON DIVISION


 UNITED STATES OF AMERICA                      )             CR. NO. 8:17-mj-00250
                                               )
                          vs.                  )
                                               )                     ORDER
 BARRY DALE KING                               )

       This matter arises from the Government’s motion to extend the time in which it may seek

an Indictment against the above-named defendant.

       The defendant was arrested and made an initial appearance on October 12, 2017, pursuant

to a Complaint filed on October 12, 2017, charging a violation of Title 21, United States Code,

Section 846.

       This continuance is sought because the grand jury in Greenville is not convening within 30

days from the date of the defendant’s arrest and/or initial appearance. The Government has

informed the Court that Defense counsel has no objections to this continuance.

       NOW, the period of time in which the Government may seek an Indictment in this case is

extended to allow the Government to present an indictment.        The delay resulting from the

extension is excludable under the provisions of the Speedy Trial Act, 18 U.S.C. §

3161(h)(7)(B)(iii).


       IT IS SO ORDERED.

                                            _S/ Timothy M Cain____________
                                            TIMOTHY M. CAIN
                                            UNITED STATES DISTRICT JUDGE

November 14, 2017
Greenville, South Carolina
